            s/Christine I. Magdo, by the Court, with permission
Approved: ______________________________________________________
          CHRISTINE I. MAGDO / GINA CASTELLANO / ROBERT L. BOONE
          Assistant United States Attorneys

Before:   HONORABLE DEBRA FREEMAN
          United States Magistrate Judge
          Southern District of New York

- - - - - - - - - - - - - - - - -       x    20 MAG 9706
                                        :   SEALED COMPLAINT
UNITED STATES OF AMERICA                :
                                        :   Violations of
               - v. -                   :   15 U.S.C. §§ 78j(b)& 78ff; 17
                                        :   C.F.R. § 240.10b-5; 18 U.S.C.
JEFFREY HASTINGS,                       :   §§ 371, 1343, 1349 & 2.
                                        :
                 Defendant.             :   COUNTY OF OFFENSE:
                                        :   NEW YORK
- - - - - - - - - - - - - - - - -       x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          FATIMA HAQUE being duly sworn, deposes and says that
she is a Special Agent with the Federal Bureau of Investigation
(“FBI”) and charges as follows:

                            COUNT ONE
         (Conspiracy To Commit Securities Fraud and Make
      False Statements In Annual And Quarterly SEC Reports)

     1.   From at least in or about February 2015 through in or
about April 2017, in the Southern District of New York and
elsewhere, JEFFREY HASTINGS, the defendant, and others known and
unknown,    willfully    and   knowingly    combined,    conspired,
confederated, and agreed together and with each other to commit
offenses against the United States, namely (a) to commit securities
fraud, in violation of Title 15, United States Code, Sections
78j(b) and 78ff, and Title 17, Code of Federal Regulations, Section
240.10b-5; and (b) making false and misleading statements of
material fact in applications, reports, and documents required to
be filed with the United States Securities and Exchange Commission
(“SEC”) under the Securities Exchange Act of 1934 and the rules
and regulations thereunder, in violation of Title 15, United States
Code, Sections 78m(a) and 78ff.




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                      Objects Of The Conspiracy

                    Fraud in Connection with the
                  Purchase and Sale of Securities

     2.   It was a part and an object of the conspiracy that
JEFFREY HASTINGS, the defendant, and others known and unknown,
willfully and knowingly, directly and indirectly, by the use of
the means and instrumentalities of interstate commerce, and of the
mails, and of the facilities of national securities exchanges,
would and did use and employ, in connection with the purchase and
sale of securities, manipulative and deceptive devices and
contrivances, in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by (a) employing devices, schemes,
and artifices to defraud; (b) engaging in acts, practices, and
courses of business which operated and would operate as a fraud
and deceit upon any person, in violation of Title 15, United States
Code, Sections 78j(b) and 78ff; and (c) making untrue statements
of material fact and omitting to state material facts necessary in
order to make the statements made, in the light of the
circumstances under which they were made, not misleading.

                     False Statements in Annual
                      and Quarterly SEC Reports

     3.   It was further a part and an object of the conspiracy
that JEFFREY HASTINGS, the defendant, and others known and unknown,
willfully and knowingly, would and did make and cause to be made
statements in reports and documents required to be filed with the
SEC under the Securities Exchange Act of 1934 and the rules and
regulations promulgated thereunder, which statements were false
and misleading with respect to material facts, in violation of
Title 15, United States Code, Sections 78m(a) and 78ff, and Title
17, Code of Federal Regulations, Sections 240.12b-20, 240.13a-1,
240.13b-13.

                              Overt Acts

     4.   In furtherance of the conspiracy and to effect its
illegal objects, JEFFREY HASTINGS, the defendant, and his co-
conspirators, committed the following overt acts, among others, in
the Southern District of New York and elsewhere:




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          a.   On or about May 13, 2015, a co-conspirator not named
herein (“CC-1”)1 sent an email message, via SAEX’s email servers
located outside the state of New York, to a portfolio manager at
a hedge fund located in New York, New York, in which CC-1 falsely
stated, “At this point there is an estimated equity infusion into
ASV of $7M which should be more than sufficient . . . SAE will not
be participating in the equity.”

          b.   On or about January 27, 2016, CC-1 sent an email
message, via SAEX’s email servers located outside the state of New
York, to several employees of a financial institution, located in
New York, New York, soliciting that institution’s investment in
ASV. In the email message, CC-1 falsely stated that CC-1 had “no
interest or dealings with” a shell company that CC-1 had helped to
create that had transferred more than $5 million to ASV in or about
December 2015.

          c.   On or about March 15, 2016, HASTINGS, in his
capacity as Executive Chairman and Director of SAEX, signed SAEX’s
Form 10-K for 2015, which was disseminated to investors, including
investors located in the Southern District of New York, by means
of interstate wires, including the internet, which falsely
reported 2015 revenue from ASV (referred to as Customer A) of
approximately $83.8 million, which accounted for approximately 37%
of SAEX’s consolidated revenue for 2015.

          d.   On or about August 12, 2016 and on or about November
4, 2016, in connection with SAEX’s filing of its Form 10-Qs for
the periods ending on June 30, 2016 and September 30, 2016,
respectively, HASTINGS, in his capacity as Chief Executive Officer
and Chairman of the Board, signed (i) a “Certification of Chief
Executive Officer pursuant to Section 302 of the Sarbanes-Oxley
Act of 2002,” in which HASTINGS falsely certified that the “report
does not contain any untrue statement of a material fact or omit
to state a material fact necessary to make the statements made, in
light of the circumstances under which such statements were made,
not misleading with respect to the period covered by this report”;
and (ii) a “Certification Pursuant to 18 U.S.C. Section 1350, As
Adopted Pursuant to Section 906 of the Sarbanes-Oxley Act of 2002”

1 CC-1, who has potential criminal liability for, among other
crimes, securities fraud, wire fraud, and conspiracies to commit
the same, is not currently charged with any crimes but has
agreed to assist law enforcement, in part, in hopes of entering
into a cooperation agreement with the Government. CC-1’s
information has been corroborated by, among other things,
electronic communications received from SAEX and others,
including electronic communications between CC-1 and HASTINGS.

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in which HASTINGS falsely certified that the information contained
in SAEX’s Form 10-Q for the relevant period “fairly presents, in
all material respects, the financial condition and results of
operations of the company.”

          e.   On or about March 15, 2017, HASTINGS, in his
capacity as Chief Executive Officer and Chairman of the Board,
signed SAEX’s Form 10-K for 2016, which was disseminated to
investors, including investors located in the Southern District of
New York, by means of interstate wires, including the internet,
which falsely reported 2016 revenue from ASV (referred to as
Customer B) of approximately $57.3 million, approximately 28% of
SAEX’s consolidated revenue for 2016.

           (Title 18, United States Code, Section 371.)

                               COUNT TWO
                          (Securities Fraud)

     5.   From at least in or about February 2015 through in or
about April 2017, in the Southern District of New York and
elsewhere, JEFFREY HASTINGS, the defendant, willfully and
knowingly, directly and indirectly, by use of the means and
instrumentalities of interstate commerce, the mails and the
facilities of national securities exchanges, used and employed
manipulative and deceptive devices and contrivances in
connection with the purchase and sale of securities, in
violation of Title 17, Code of Federal Regulations, Section
240.10b-5, by: (a) employing devices, schemes and artifices to
defraud; (b) engaging in acts, practices and courses of business
which operated and would operate as a fraud and deceit upon
persons; and (c) making untrue statements of material facts and
omitting to state material facts necessary in order to make the
statements made, in light of the circumstances under which they
were made, not misleading, to wit, HASTINGS engaged in a scheme
to mislead the shareholders of SAEX and the investing public by
fraudulently inflating SAEX’s reported revenue.

   (Title 15, United States Code, Sections 78j(b) & 78ff; Title
  17, Code of Federal Regulations, Section 240.10b-5; Title 18,
                 United States Code, Section 2.)




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                            COUNT THREE
                 (Conspiracy to Commit Wire Fraud)

     6.   From at least in or about February 2015 through in or
about April 2017, in the Southern District of New York and
elsewhere, JEFFREY HASTINGS, the defendant, and others known and
unknown,   willfully   and    knowingly,   combined,   conspired,
confederated, and agreed together and with each other to commit
wire fraud, in violation of Title 18, United States Code, Section
1343.

                      Object Of The Conspiracy

     7.   It was a part and an object of the conspiracy that
JEFFREY HASTINGS, the defendant, and others known and unknown,
willfully and knowingly, having devised and intending to devise a
scheme and artifice to defraud, and for obtaining money and
property   by   means   of   false   and   fraudulent   pretenses,
representations, and promises, would and did transmit and cause to
be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings, signs,
signals, pictures, and sounds for the purpose of executing such
scheme and artifice, in violation of Title 18, United States Code,
Section 1343.

          (Title 18, United States Code, Section 1349.)

                              COUNT FOUR
                             (Wire Fraud)

     8.   From at least in or about February 2015 through in or
about April 2017, in the Southern District of New York and
elsewhere, JEFFREY HASTINGS, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations, and promises,
transmitted and caused to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, HASTINGS, and others
known and unknown, through the use of interstate wires and false
and misleading representations, participated in a scheme to
defraud SAEX and its shareholders by misappropriating millions of
dollars of SAEX funds.

      (Title 18, United States Code, Sections 1343 and 2.)


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          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

     9.   I have been a Special Agent with the FBI for
approximately two and a half years. I am currently assigned to a
squad that is responsible for investigating violations of the
federal securities laws, as well as wire and mail fraud laws and
related offenses. I have participated in numerous investigations
of these offenses, and I have made and participated in making
arrests of numerous individuals for committing such offenses.

     10. The information contained in this affidavit is based
upon my personal knowledge, as well as information obtained during
this investigation, directly or indirectly, from other sources,
including interviews of individuals who worked for SAEX,
electronic communications obtained from SAEX, a review of SAEX’s
filings with the SEC, bank records, and documents provided by
others, and from speaking with attorneys and an accountant from
the SEC. Because this affidavit is prepared for the limited purpose
of establishing probable cause, I have not set forth each and every
fact I have learned in connection with this investigation. Where
conversations and events are referred to herein, they are related
in substance and in part. Where dates, figures, and calculations
are set forth herein, they are approximate.

                              Background

                 Relevant Individuals and Entities

     11. At all times relevant to this Complaint, SAExploration
Holdings, Inc. (“SAEX” or the “Company”) was a publicly-traded
seismic data acquisition company headquarted in Houston, Texas
whose stock was traded on the NASDAQ Capital Market under the
ticker symbol SAEX.

     12. At all times relevant to this Complaint until in or about
August 2016, JEFFREY HASTINGS, the defendant, was the Executive
Chairman of the Board of Directors of SAEX. At all times relevant
to this Complaint after in or about August 2016, until his
separation from the Company in or about August 2019, HASTINGS
served as both the Chairman of the Board of Directors and the Chief
Executive Officer (“CEO”) of SAEX.

     13. At all times relevant to this Complaint, until his
separation from the Company in or about August 2019, CC-1 was the
Chief Financial Officer (“CFO”) and the General Counsel (“GC”) of
SAEX.


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     14. At all times relevant to this Complaint until in or about
August 2016, a co-conspirator not named herein (“CC-2”) was the
founder, President and CEO of SAEX. At all times relevant to this
Complaint after in or about August 2016, until his separation from
the Company in or about December 2019, CC-2 was the Chief Operating
Officer (“COO”) of SAEX.

     15. At all times relevant to this Complaint until in or about
August 2016, a co-conspirator not named herein (“CC-3,”
collectively with CC-1 and CC-2, the “Conspirators”) was the
Executive Vice President for Operations at SAEX. At all times
relevant to this Complaint after in or about August 2016, CC-3 was
Senior Vice President at SAEX.

     16. At all times relevant to this Complaint, beginning in or
about May 2015, Alaskan Seismic Ventures, LLC (“ASV”) was a seismic
data library company incorporated in Alaska that purchased seismic
data from SAEX and licensed that data to third parties, namely oil
and gas companies.

     17. At all times relevant to this Complaint, beginning in or
about September 2015, Global Equipment Solutions (“Global
Equipment”) was a company incorporated in Delaware controlled by
HASTINGS and CC-1 that purportedly rented seismic acquisition
equipment to SAEX.

         Relevant Public Company Reporting Requirements

     18. At all times relevant to this Complaint, SAEX was
required to comply with the federal securities laws, which are
designed to ensure that a company’s financial information is
accurately recorded and disclosed to the public.

     19. Specifically, pursuant to the Securities Exchange Act of
1934 and the rules and regulations promulgated thereunder, SAEX
was required to: (a) file with the SEC annual financial statements
(on SEC Form 10-K); and (b) file with the SEC quarterly financial
reports (on SEC Form 10-Q).

     20. At all times relevant to this Complaint, among the most
critical financial metrics disclosed in SAEX’s public filings with
the SEC were SAEX’s quarterly and annual revenue.

                       The Schemes to Defraud

     21. From at least in or about October 2015 through at least
in or about August 2019, JEFFREY HASTINGS, the defendant, working
with CC-1, and with the knowledge of CC-2 and CC-3, devised and

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carried out a scheme to defraud SAEX, its shareholders and the
investing public by artificially and materially inflating SAEX’s
reported revenue by making it appear that ASV was a significant
source of independent revenue when in fact, and as hidden from
investors, ASV was not independent and could not pay SAEX for
seismic data.

     22. To cover up the scheme, HASTINGS and CC-1, with the
knowledge of CC-2 and CC-3, engaged in a scheme to route money
belonging to SAEX to ASV in the form of what they termed “fake
equity,” for the purpose of making lenders believe ASV had more
funds than it did; and then, when the lending did not materialize,
(b) engaging in what they termed “round-tripping” whereby SAEX
funds were routed to ASV and then routed back to SAEX to pay
outstanding receivables. At no time was either the “fake equity”
or “round-tripping” disclosed to SAEX shareholders or the
investing public.

     23. In     addition,   HASTINGS,   CC-1,   CC-2    and   CC-3,
misappropriated more than half of the $12 million in SAEX funds
intended to be round-tripped to ASV through Global Equipment, for
their own personal use. The misappropriation of these funds for
the benefit of HASTINGS and the Conspirators was also not disclosed
to investors.

            HASTINGS and CC-1 Set Up ASV in Order for
          SAEX to Take Advantage of Certain Alaska Tax
         Credits and to Inflate SAEX’s Reported Revenue
     24. Based on my review of electronic communications
exchanged between JEFFREY HASTINGS, the defendant, CC-1, and
others, transcripts of depositions conducted by the SEC, documents
related to the formation of ASV, as well as my interviews with CC-
1 and others, I have learned, among other things, the following:

          a.   From at least in or about February 2015, HASTINGS
and CC-1 discussed finding a way for SAEX to take advantage of
certain tax credits offered by the State of Alaska to, among
others, seismic data library companies, to offset the costs of
exploring for oil and gas in Alaska (the “Alaska Tax Credits”).
In addition to the fact that SAEX was not eligible to apply for
the Alaska Tax Credits, the Board of SAEX was opposed to operating
its own data library, including because of concerns about the
ability to ensure payment to SAEX, including through the
monetization of Alaska Tax Credits. To avoid the appearance that
SAEX was operating a data library company that licensed to third
parties, HASTINGS and CC-1 set up ASV to purport to operate as an
independent company purchasing seismic data from SAEX and license

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it to third parties. HASTINGS recruited an acquaintance to serve
as the owner and sole employee of ASV.

          b.   In order for ASV to qualify to receive Alaska Tax
Credits, ASV’s purchase of seismic data from SAEX was required to
be an arm’s length relationship. It was not, however, and HASTINGS
and CC-1 concealed the affiliation between ASV and SAEX, as well
as their own involvement with ASV, from SAEX’s Board, shareholders
and the investing public.

     In Early-to-Mid 2015, HASTINGS and CC-1 Transfer Funds
           from SAEX through Shell Companies to ASV as
    “Fake Equity” to Fraudulently Induce Lenders to Fund ASV

     25. Based on my review of electronic communications
exchanged between JEFFREY HASTINGS, the defendant, CC-1, and
others,   bank   records,  publicly-available   certificates  of
incorporation and other publicly-available documents, as well as
my interviews with CC-1 and others, I have learned, among other
things, the following:

          a.    In or about May 2015, HASTINGS and CC-1 learned
that financial institutions and other lenders (collectively, the
“Lenders”) were willing to make loans to ASV, if ASV was able to
demonstrate that it had substantial capital. HASTINGS and CC-1
wanted the Lenders to lend ASV money so those funds could be used
to pay SAEX for seismic data and reported as revenue. As a result,
to make ASV look like an independent and financially healthy
company, HASTINGS and CC-1 conceived a plan to transfer funds from
SAEX to ASV on a temporary basis, to give the Lenders the false
impression that ASV had obtained an equity investment.

          b.   Because HASTINGS and CC-1 needed to maintain the
false appearance that ASV was independent of SAEX, they concealed
the transfer of funds from SAEX to ASV by funneling it through a
series of shell companies that they created and controlled. For
example, on or about May 13, 2015, a portfolio manager (the
“Portfolio Manager”) at a hedge fund located in New York, New York,
sent an email to CC-1 asking how ASV would raise equity: “Where
are they [ASV] getting that money from [?] Was SAE raising the
equity to cover that?” In response, CC-1 sent an email to the
Portfolio Manager falsely stating, “At this point there is an
estimated equity infusion into ASV of $7M which should be more
than sufficient . . . SAE will not be participating in the equity.”

          c.   In   or   about  July   2015,   HASTINGS   and   the
Conspirators continued to discuss the need for ASV to obtain loans,

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so that ASV could use the loan proceeds to pay SAEX for its seismic
data. HASTINGS and CC-1 informed CC-2 and CC-3 of their plan to
secretly transfer funds from SAEX to ASV to assist ASV in securing
loans from the Lenders.

          d.    From in or about August 2015 through in or about
November 2015, HASTINGS and CC-1 created and caused to be created
a number of shell companies (the “Shell Companies”) using the names
of nominee owners that they had recruited from among their
relatives and friends. It was through the Shell Companies that
HASTINGS and CC-1 planned to secretly transfer funds from SAEX
into ASV, in what would appear to the Lenders to be an equity
investment.

          e.   In or about October 2015, HASTINGS and the
Conspirators discussed that Lenders would require ASV to show
approximately $6 million in equity investments in order for the
Lenders to make loans to ASV.

          f.   One of the Shell Companies, Global Equipment, was
incorporated by CC-1 on behalf of HASTINGS. Global Equipment was
purportedly an equipment rental company from which SAEX rented
seismic acquisition equipment. In truth and in fact, and as
HASTINGS and the Conspirators well knew, SAEX did not rent any
equipment from Global Equipment and did not owe Global Equipment
any money. The Conspirators took steps to make the payments from
SAEX to Global Equipment appear legitimate to others at SAEX; for
example, CC-1 drafted a lease agreement between SAEX and Global
Equipment and CC-3 created fake purchase orders, some of which
were back-dated, that purported to show expenses incurred by SAEX
as a result of renting equipment from Global Equipment. In total,
by the end of 2015, SAEX had recorded on its books approximately
$12 million in payables to Global Equipment. In or about October
and November 2015, HASTINGS and the Conspirators caused SAEX to
make payments totaling approximately $6.78 million to Global
Equipment, purportedly for rental expenses.

          g.   From in or about October 2015 through in or about
December 2015, portions of the $6.78 million received by Global
Equipment from SAEX were transferred to the other Shell Companies.
In or about December 2015, approximately $5.9 million was
transferred, in the guise of an equity investment, from one of the
Shell Companies (Company-1) to ASV, in order to induce the Lenders
to make loans to ASV.

          h.    On or about January 27, 2016, CC-1 sent an email
message to several employees of a financial institution, located
in New York, New York, from which CC-1 was soliciting an investment

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in ASV. In the email message, CC-1 falsely stated that CC-1 had
“no interest or dealings with” Company-1.

         In late 2015, When the Financing Falls through,
       ASV Engages in “Round-Tripping” By Sending Millions
         Back to SAEX as Purportedly Legitimate Payments

     26. Ultimately, the Lenders decided not to provide funding
to ASV in 2015. HASTINGS and CC-1, with the knowledge of CC-2 and
CC-3, decided to use a portion of the SAEX funds that had been
transferred to ASV through Global Equipment to make it appear that
ASV was paying the amounts it owed to SAEX for seismic data.
HASTINGS and the Co-Conspirators referred to this portion of the
scheme as “Round Tripping.”      In or about December 2015, ASV
transferred approximately $5.8 million to SAEX as partial payment
for the seismic data it had acquired from SAEX. The fact that these
funds originated with SAEX was not disclosed to investors.

       In 2016, HASTINGS and CC-1 Misappropriate More Than
          $5 Million from SAEX through Global Equipment

     27. Based on my review of electronic communications
exchanged between JEFFREY HASTINGS, the defendant, CC-1 and
others, and bank records, as well as from interviews with CC-1 and
others, I have learned, among other things, the following:

          a.   In or about January 2016, SAEX’s books and records
reflected that it still owed more than $5 million in outstanding
payables to Global Equipment, as a result of the fraud described
in the prior paragraphs. In truth and in fact, these payables were
fictitious, as Global Equipment was a shell company designed to
route money from SAEX to ASV. From in or about September 2016
through in or about December 2016, HASTINGS and the Conspirators
caused SAEX to make payments totaling more than $5 million to
Global Equipment for equipment rentals that they knew had, in fact,
never occurred. SAEX had to restructure its debt holdings in order
to be able to afford to make the fictitious payments.

          b.    From in or about September 2016 through in or about
April 2017, HASTINGS and CC-1 misappropriated more than $5 million
for their own use, by transferring the funds into bank accounts
that they controlled. In setting up one such account, on or about
June 23, 2016, CC-1 sent an email message, via SAEX’s email servers
located outside the state of New York, to an employee of a
financial institution located in New York, New York, in which CC-
1 provided information requested by the financial institution.
HASTINGS and CC-1 used a portion of the more than $5 million that


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they misappropriated from SAEX to make payments to CC-2 and CC-3,
among others.

          HASTINGS and Others Make and Cause to Be Made
          False Statements in SAEX Filings with the SEC

     28. Based on my review of SAEX filings with the SEC, as well
as from interviews with CC-1 and others, I have learned, among
other things, the following:

          a.   HASTINGS failed to disclose his and CC-1’s control
and ownership of Global Equipment.

          b.   HASTINGS failed to disclose that SAEX had never
rented any equipment from Global Equipment and that SAEX never
owned any payments for rental expenses to Global Equipment.

          c.   HASTINGS failed to disclose that there was no
legitimate business purpose for SAEX to make approximately $12
million in payments to Global Equipment.

          d.   HASTINGS  failed  to   disclose  that,  of  the
approximately $12 million in payments that SAEX made to Global
Equipment, more than $5 million was funneled through the Shell
Companies to ASV.

          e.   HASTINGS failed to disclose that SAEX had a
controlling financial interest in ASV and that SAEX was the primary
beneficiary of ASV.

          f.   HASTINGS failed to disclose his and CC-1’s control
and ownership of the Shell Companies.

          g.   HASTINGS failed to disclose that more than $5
million that ASV paid SAEX consisted of funds that they had
misappropriated from SAEX and did not constitute legitimate
revenue to SAEX.

          h.   HASTINGS   failed   to   disclose  that,   of   the
approximately $12 million in payments that SAEX made to Global
Equipment, more than $6 million was misappropriated by HASTINGS
and CC-1 and distributed to HASTINGS, the Conspirators and others.

       HASTINGS Invents a Cover Story for the Conspirators
     29. Based on my review of electronic communications among
JEFFREY HASTINGS, the defendant, and the Conspirators, travel
records, information provided by the SEC and SAEX, I have learned,
among other things, the following:

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          a.   In or about August 2019, HASTINGS and the
Conspirators met at a hotel in Toronto, Canada to discuss an
investigation being conducted by SAEX’s outside counsel (“Outside
Counsel”) into the conduct described in this Complaint. HASTINGS
and the Conspirators discussed what they would tell Outside Counsel
about the $12 million that SAEX had paid to Global Equipment.
HASTINGS proposed a cover story, according to which the payments
to Global Equipment would be described as compensation that SAEX
was obligated to pay HASTINGS as consideration for his assignment
of a contract to SAEX in 2011 (the “Assignment”). In truth and in
fact, and as the Conspirators well knew, HASTINGS was not due to
receive any compensation from SAEX for the Assignment.

     WHEREFORE, I respectfully request that an arrest warrant be
issued for JEFFREY HASTINGS, the defendant, and that he be
arrested and imprisoned or bailed, as the case may be.


                                    s/Fatima Haque, by the Court, with permission
                                    _____________________________
                                    FATIMA HAQUE
                                    SPECIAL AGENT
                                    FEDERAL BUREAU OF INVESTIGATION

Sworn to before me this
 11th
______ day of September, 2020 by reliable electronic means (FaceTime)


______________________________
HONORABLE DEBRA FREEMAN
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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